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                 UNITED STATES DISTRICT COURT CENTRAL DISTRICT OF CALIFORNIA
                             CRIMINAL MINUTES – ARRAIGNMENT


Case No.      2:23-cr-00567-GW                                                                   Date: 12/05/2023
Present: The Honorable: Patricia Donahue, U.S. Magistrate Judge
Interpreter Vladimir Ferkelman                                              Language   Russian
Isabel Verduzco                              12/05/2023                                      Jason Gorn
                  Deputy Clerk                         Court Reporter / Recorder                   Assistant U.S. Attorney


 U.S.A. v. Defendant(s)      Present In Custody                       Attorneys for Defendants:      Present   DFPD
Sergey Vladimirovich Ochigava                                          Choi, Erica
Proceedings: Arraignment of Defendant and/or              Assignment of Case          Appointment of Counsel

* Interpreter confirmed to be present in the courtroom assisting with interpretation. Name of interpreter:
Vladimir Ferkelman; Language: Russian
* Defendant states true name is the name on the charging document.
* Defendant is arraigned under name on charging document.
* Defendant acknowledges having read charging document and discussed it with counsel.
* Defendant pleads "not guilty" to all counts of the charging document.
* This case is assigned to Judge George H Wu.
* It is ordered that the following date(s) and time(s) are set: Jury Trial: 12/26/2023 9:00 AM
* The parties are referred to Judge Wu’s Procedures and Schedules to obtain a copy of the judge's discovery
order located on the Court's website at www.cacd.uscourts.gov.
Judge Wu is located in 9D, Los Angeles - United States Courthouse, 350 W 1st Street, CA 90012-4565.




cc:      PSALA            PSAED          PSASA
       USMLA             USMED          USMSA                                  Appointment of Counsel: 00         : 00
         Statistics Clerk               Interpreter                                      Arraignment: 00         : 05
         CJA Supervising Attorney        Fiscal                                 Initials of Deputy Clerk:   IV by TRB

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